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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

        v.                                                    17-CR-162-V

 DARIUS DIX,                                                  DECISION AND ORDER

            Defendant.
___________________________________


      1. On April 30, 2018, the defendant, Darius Dix, pleaded guilty to Count 1 of the

superseding information charging a violation of Title 21, United States Code, Section

846 (conspiracy to distribute 500 grams or more of cocaine and 28 grams of more of

cocaine base). Docket Item 67.


      2. On May 1, 2018, the Honorable H. Kenneth Schroeder, Jr., United States

Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 69.

      3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Sections 636(b)(1) and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

      4. This Court has carefully reviewed de novo Judge Schroeder’s

Report & Recommendation (docket item 69), the plea agreement (docket item 68), the

superseding information (docket item 67), a transcript of the digital FTR recording of the

plea proceeding (docket item 89), and the applicable law. This Court finds no legal or

factual error in Judge Schroeder’s Report & Recommendation and therefore adopts
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Judge Schroeder’s recommendation that the defendant’s plea of guilty be accepted and

that the defendant be adjudged guilty of Count 1 of the superseding information.

         IT IS HEREBY ORDERED that this Court adopts Judge Schroeder’s May 1, 2018

Report & Recommendation, Docket Item 69, in its entirety, including the authorities cited

and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Darius Dix, is now adjudged guilty under Title 21, United States

Code, Section 846.



         SO ORDERED.

Dated:         July 5, 2018
               Buffalo, New York



                                              s/ Lawrence J. Vilardo
                                             LAWRENCE J. VILARDO
                                             UNITED STATES DISTRICT JUDGE




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